                   Case 22-40745                           Doc 30                Filed 06/30/22 Entered 06/30/22 13:28:46                                                                   Desc Main
                                                                                   Document     Page 1 of 1                                                                                      .

 Fill in this information to identify the case:

                      5SBTI$IPNQFS--$
 Debtor name ____________________________ _____ _____ _____ ______ _____ _____ _____ _

                                                        &BTUFSO                                                   59
 United States Bankruptcy Court f or the: _______________________ District of ________
                                                                                                                 (State)
 Case number (If known):
                                            
                                      _________________________


                                                                                                                                                                                                   Check if this is an
                                                                                                                                                                                                     amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                           12/15




Part 1:          Summary of Assets


1.   Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

     1a.   Real property:                                                                                                                                                                                
                                                                                                                                                                                                  $ ________________
           Copy line 88 from Schedule A/B.....................................................................................................................................

     1b.   Total personal property:                                                                                                                                                                    
                                                                                                                                                                                                  $ ________________
           Copy line 91A from Schedule A/B...................................................................................................................................

     1c. Total of all property:                                                                                                                                                                      
                                                                                                                                                                                                  $ ________________
           Copy line 92 from Schedule A/B.....................................................................................................................................




Part 2:          Summary of Liabilities




2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)                                                                                                                    
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D..............................................                                                    $ ________________


3.   Schedule E/F: Creditors Who Have Unsecured Claims(Official Form 206E/F)

     3a.   Total claim am ounts of priority unsecured claim s:                                                                                                                                      VOLOPXO
           Copy the total claims from Part 1 from line 5a of Schedule E/F ....................................................................................                                    $ ________________


     3b.   Total am ount of claims of nonpriority am ount of unsecured claims:                                                                                                                       
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F .........................................................                                          +   $ ________________




4.   Total liabilities...................................................................................................................................................................            
                                                                                                                                                                                                  $ ________________
     Lines 2 + 3a + 3b



 6OLOPXOCFDBVTFOPDVSSFOUSFDPSETPGDPNQBOZIBWFCFFOQSPWJEFECZDPNBOBHFS 4BOESB1FSSZ BOEUIF
GPSNFSCPPLLFFQFS 5POZ(MPXJOTLJOFJUIFSQFSTPOJOQVUUFEBOZGJOBODJBMJOGPSNBUJPOJOUPUIFDPNQBOZhT
RVJDLCPPLTTJODF"QSJM 



 Official Form 206Sum                                       Sum m ary of Assets and Liabilities for Non-Individuals                                                                                    page 1
